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                  AMOUNT OF ALLEGED POST-PETITION DEFAULT
                               (AS OF 10/05/10)


    A. Date last payment was received: 08/18/10.

    B. Alleged total number of payments due post-petition from filing of petition through
       payment due on: 10/01/10; 1.*Loan contractually due for 07/01/10.

    C. All post-petition payments alleged to be in defaut:

Alleged        Alleged      Amount        Amount       Amount       Amount       Late Fee
Amount         Amount       Received      Applied to   Applied to   Applied to   Charged
Due Date       Due                        Principal    Interest     Escrow       (If any)
10/01/10       1,290.82                                                          64.53




Totals:        1,290.82                                                          64.53




    D. Amount of movant’s attorneys fees billed to debtor for the preparation, filing and
       prosecution of this motion: $____________.

    E. Amount of movant’s filing fee for this motion: $___150.00____.

    F. Other attorneys’ fees billed to debtor post-petition: $____________.

    G. Amount of movant’s post-petition inspection fees: $____________.

    H. Amount of movant’s post-petition appraisal broker’s price opinion: $____________.

    I.    Amount of forced placed insurance or insurance provided by the movant post-
          petition: $____________.

    J. Sum held in suspense by movant in connection with this contract, if applicable:
       $___________

    K. Amount of other post-petition advances or charges, for example, taxes, insurance
       incurred by debtor, ect. (itemize each charge): $____________.
